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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

LUXOTTICA GROUP S.p.A.                   )
and OAKLEY, INC.,                        )   Case No. 16-cv-00487
                                         )
                   Plaintiffs,           )   Judge Manish S. Shah
                                         )
       v.                                )   Magistrate Judge Sheila Finnegan
                                         )
HAO LI, et al.,                          )
                                         )
                   Defendants.           )
                                         )

  PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF THEIR MOTION FOR
   SUMMARY JUDGMENT AND A STATUTORY DAMAGES AWARD AS TO THE
   DEFENDANT IDENTIFIED BY AND OPERATING AT LEAST THE INTERNET
        STORES DEALSGOING, SFCDIRECT AND UPTOGETHERTEK
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                                         MEMORANDUM

          Pursuant to Rule 56 of the Federal Rules of Civil Procedure, Plaintiffs Luxottica Group

S.p.A. and Oakley, Inc.1 (collectively, “Luxottica” or “Plaintiffs”) submit this Motion for

Summary Judgment and a Statutory Damages Award as to the Defendant identified by and

operating at least the Internet stores dealsgoing, sfcdirect and uptogethertek (“Defendant”)2, which

is advertising and offering for sale products using counterfeit reproductions of Luxottica’s

federally registered, famous and well-known WAYFARER trademark through the fully

interactive, commercial Internet eBay stores dealsgoing, sfcdirect and uptogethertek (the

“Defendant Internet Stores”). In recent similar cases in this District, Courts entered summary

judgment in favor of the trademark owners, found willful infringement and trademark

counterfeiting, and awarded substantial six-figure statutory damages awards. Bulgari, S.p.A. v.

Zou Xiaohong, et al., 2015 U.S. Dist. LEXIS 140606, at *7 (N.D. Ill. Oct. 15, 2015) (awarding

$100,000 for three represented sales); Luxottica USA LLC v. The Partnerships, et al., 2015 U.S.

Dist. LEXIS 78961, at *7-10 (N.D. Ill. June 18, 2015) ($150,000 awarded for three infringed

marks, holding that even though there was no evidence submitted that defendant was a “large-

scale counterfeiter,” defendant’s online sale of counterfeit goods made plaintiff’s actual losses

difficult to calculate and justified a substantial award).

I.        INTRODUCTION

          Plaintiff Luxottica is engaged in the business of producing, manufacturing and distributing

throughout the world, including within this judicial district, premium, luxury and sports eyewear



1
    Oakley, Inc. (“Oakley”), is an indirect, wholly-owned subsidiary of Luxottica.
2
  Defendant is also operating the Internet store royalwaytrade, which was sued in Richemont
International SA, et al. v. Luo Liang, et al., No. 16-cv-01227 (N.D. Ill. Mar. 17, 2016). Counsel
for Luxottica also represents Plaintiffs in the Richemont action.
                                                   1
                                                    
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products under federally registered trademarks. Specifically, Luxottica and its predecessors have

been selling eyewear under the WAYFARER mark since 1956, and WAYFARER brand

sunglasses have been noted by Wired Magazine as “one of the first things that come to mind when

people think of sunglasses.” Declaration of John J. Stewart (the “Stewart Declaration”) at ¶ 3.

The sunglasses sold under Luxottica’s WAYFARER mark quickly became a favorite among

notable celebrities of the 1950s and 1960s, such as James Dean, Marilyn Monroe, Cary Grant,

Andy Warhol, and Bob Dylan, and have been touted by Wired Magazine as “among the first

sunglasses made for both seeing and being seen.” Id. WAYFARER sunglasses have been

recognized by CNN, The Globe and Mail, and Fashionista as “a classic of modern design,” a

“hipster staple,” “eternal,” and “iconic,” having “ridden the waves of fashion in timeless style.”

Id. at ¶ 4. Fashionista has even noted that “Wayfarers will outlive us all,” and AdWeek noted that

“[t]he cultural impetus of Wayfarers is now unstoppable.” Id. New York Magazine’s The Cut

included the “Ray-Ban Wayfarers” in its collection of the “50 Most Iconic Sunglasses of All

Time,” stating that the sunglasses were “[a]rguably the most iconic of shades.” Id.

       The timelessness and popularity of the eyewear sold under the WAYFARER mark is due

in large part to their ubiquity in pop culture. In 1982, Luxottica’s predecessors signed a lucrative

product placement deal which started a WAYFARER brand sunglasses phenomenon. Id. at ¶ 5.

WAYFARER sunglasses appeared on Tom Cruise in 1983’s Risky Business, as well as in the

movies and television shows such as Miami Vice, Moonlighting, and the Breakfast Club. Id.

These television and movie appearances of the WAYFARER brand sunglasses helped sales to

reach 1.5 million by the mid-1980s. Id. WAYFARER brand sunglasses experienced a renewed

surge in popularity in the late 2000s, after appearances in the 2008 film Twilight and Katy Perry’s

2010 “Teenage Dream” music video, and on fashion forward celebrities such as Chloë Sevigny



                                                 2
                                                  
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and Mary-Kate Olsen. Id. at ¶ 6. As such, the WAYFARER trademark is a famous and valuable

asset of Luxottica.

       Luxottica moves for summary judgment against Defendant for federal trademark

infringement and counterfeiting (Count I), false designation of origin (Count II), and violation of

the Illinois Uniform Deceptive Trade Practices Act (“UDTPA”) (Count IV). There is no genuine

issue of material fact as to whether Defendant is engaged in advertising and offering for sale

unauthorized sunglasses using counterfeit reproductions of the WAYFARER trademark on the

Defendant Internet Stores. Further, Luxottica requests that this Court include a finding that the

Defendant’s conduct was willful and award statutory damages in the amount of at least ninety

thousand dollars ($90,000).

       A.      Luxottica’s WAYFARER Trademark

       Luxottica holds numerous U.S. federal trademark registrations for its trademarks, including

U.S. Registration No. 595,513 for the WAYFARER mark (hereinafter, the “WAYFARER

Trademark”). Plaintiffs’ Rule 56.1 Statement of Undisputed Facts at ¶ 1 (“Rule 56.1 Statement”).

The registration for the WAYFARER Trademark is valid, subsisting, and in full force and effect.

Id. Pursuant to 15 U.S.C. § 1065, the WAYFARER Trademark is incontestable. Id. Incontestable

status under 15 U.S.C. § 1065 provides that the registration for the WAYFARER Trademark is

conclusive evidence of the validity of Luxottica’s registered trademark and of the registration of

the mark, of Luxottica’s ownership of the trademark, and of Luxottica’s exclusive right to use the

mark in commerce. Id.; 15 U.S.C. §§ 1115(b), 1065.

       B.      Defendant’s Unlawful Activities

       Defendant’s counterfeiting operation consists of multiple Online Marketplace Accounts,

including the eBay Internet Stores dealsgoing, sfcdirect and uptogethertek (defined above as the

“Defendant Internet Stores”), and using multiple different PayPal accounts to sell products over

                                                3
                                                  
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the Internet to the United States, including Illinois residents. Rule 56.1 Statement at ¶ 6. Through

the Online Marketplace Accounts, Defendant was using plain text counterfeit versions of

Luxottica’s federally registered WAYFARER Trademark to advertise, offer for sale and sell

products not authorized, licensed or manufactured by Luxottica.3 Id. at ¶¶ 2-5. Specifically,

Defendant offered for sale unauthorized sunglasses using counterfeits of the WAYFARER

Trademark for $2.26 - $2.36 USD. Id. Defendant identified the products in the product title

section as “Vintage 1980’s Wayfarer Fashion Sunglasses Dark Lens Black Frame Unisex,”

“Fashion Sunglasses Wayfarer Style Black Frame w/ Dark Lens Retro Square Glasses,” and

“Vintage 1980’s Wayfarer Fashion Sunglasses Dark Lens Black Frame Mens Womens” in the

product title. Id. at ¶¶ 2-4. Luxottica examined the images of the sunglasses shown on the

Defendant Internet Stores and determined the products were not licensed or authorized by

Luxottica, and therefore counterfeit. Id. Luxottica’s investigator purchased products offered for

sale on each of the Defendant Internet Stores. Id. Luxottica has not authorized or licensed the

Defendant to use the WAYFARER Trademark on the Defendant Internet Stores. Id. at ¶ 5.

Defendant is not an authorized retailer of genuine Luxottica Products, and the products offered for

sale using the WAYFARER Trademark on the Defendant Internet Stores are not genuine Luxottica

Products. Id.

        C.      Procedural History

        Luxottica filed this action on January 14, 2016, alleging claims relating to federal

trademark infringement and counterfeiting, and seeking statutory damages and injunctive relief

against Defendant. [1, 9]. This Court granted an injunction against Defendant on January 21,



3
  Since Defendant is using the WAYFARER Trademark in the product title on the Defendant Internet
Stores, Luxottica does not take a position as to whether the physical sunglasses sold by Defendant bore any
counterfeit trademarks for the purposes of this Motion.

                                                    4
                                                      
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2016, finding that Luxottica demonstrated, among other things, a strong likelihood of success on

the merits of its trademark infringement and counterfeiting claims.4 [35]. Defendant filed an

Answer [59] to Luxottica’s Amended Complaint on March 3, 2016. The Court entered Default

and Default Judgment [54] (awarding statutory damages of two hundred thousand dollars

($200,000) per defendant) against defaulting defendants on February 25, 2016, with the exception

of Defendant (among other excepted defendants).

II.     ARGUMENT

        A.       Summary Judgment Standard

        A district “court shall grant summary judgment if the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R.

Civ. P. 56(a).     The district court must decide “whether the evidence presents a sufficient

disagreement to require submission to a jury or whether it is so one-sided that one party must

prevail as a matter of law.” Packman v. Chi. Tribune Co., 267 F.3d 628, 637 (7th Cir. 2001). A

genuine dispute as to any material fact only exists if a reasonable jury could return a verdict for

the non-moving party. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).

        B.       Luxottica Is Entitled to Summary Judgment Against Defendant on Its
                 Trademark Infringement and Counterfeiting, False Designation of Origin,
                 and UDTPA Claims

        A defendant is liable for trademark infringement and counterfeiting under the Lanham Act

if it, “without the consent of the registrant, use[s] in commerce, any reproduction, copy, or

colorable imitation of a registered mark in connection with the sale, offering for sale, distribution,

or advertising of any goods or services on or in connection with which such use is likely to cause

confusion, or to cause mistake or to deceive.” 15 U.S.C. § 1114(1). Section 43(a) of the Lanham


4
 The Temporary Restraining Order [35] was subsequently converted to a Preliminary Injunction [44] on
February 2, 2016.

                                                  5
                                                   
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Act further imposes liability upon a defendant who “on or in connection with any goods or

services ... uses in commerce any ... false designation of origin, false or misleading description of

fact, or false or misleading misrepresentation of fact, which is likely to cause confusion or to cause

mistake, or to deceive as to the ... origin, sponsorship, or approval of his or her goods ... by

another person.” 15 U.S.C. § 1125(a)(1). Under the UDTPA, a defendant is liable for, among

other things, (1) passing off goods as those of another; (2) causing likelihood of confusion or of

misunderstanding as to the source, sponsorship, approval, or certification of goods; or (3) causing

likelihood of confusion or of misunderstanding as to affiliation, connection, or association with

another. 815 Ill. Comp. Stat. 510/2(a).

       For a prima facie case of infringement, Luxottica must show that (1) the WAYFARER

Trademark is distinctive enough to be worthy of protection; (2) Defendant is not authorized to use

the WAYFARER Trademark; and (3) Defendant’s use of the WAYFARER Trademark causes a

likelihood of confusion as to the origin or sponsorship of Defendant’s products. See Neopost

Industrie B.V. v. PFE Int’l Inc., 403 F. Supp. 2d 669, 684 (N.D. Ill. 2005) (citation omitted).

Luxottica satisfies all three requirements of the Lanham Act to successfully bring a trademark

infringement and counterfeiting claim. Luxottica’s Section 43(a) Lanham Act and UDTPA claims

involve the same elements. See Packaging Supplies, Inc. v. Harley-Davidson, Inc., 2011 WL

1811446, at *5 (N.D. Ill. May 12, 2011). Moreover, “the ultimate test is whether the public is

likely to be deceived or confused by the similarity of the marks .... [w]hether we call the violation

infringement, unfair competition or false designation of origin, the test is identical – is there a

likelihood of confusion?” Two Pesos, Inc. v. Taco Cabana, Inc., 505 U.S. 763, 780 (1992)

(internal citations omitted).




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                       i.     The WAYFARER Trademark Is Federally Registered and
                              Incontestable

       Regarding the first element, Luxottica’s WAYFARER Trademark is registered with the

United States Patent and Trademark Office on the Principal Register. Rule 56.1 Statement at ¶ 1.

The issuance of a federal registration on the Principal Register constitutes prima facie evidence of

the validity of Luxottica’s registered trademark and of the registration of the mark, of Luxottica’s

ownership of the trademark, and of Luxottica’s exclusive right to use the mark in commerce. 15

U.S.C. §§ 1115(a), 1057(b).

       Pursuant to 15 U.S.C. § 1065, the WAYFARER Trademark is incontestable. Rule 56.1

Statement at ¶ 1. Incontestable status under 15 U.S.C. § 1065 provides that the registration for the

WAYFARER Trademark is conclusive evidence of the validity of Luxottica’s registered

trademark and of the registration of the mark, of Luxottica’s ownership of the trademark, and of

Luxottica’s exclusive right to use the mark in commerce. 15 U.S.C. §§ 1115(b), 1065.

       Therefore, there can be no genuine issue of material fact as to whether Luxottica has valid

and exclusive rights in the WAYFARER Trademark.

                       ii.    Defendant Advertised and/or Offered to Sell Goods Using the
                              WAYFARER Trademark in Commerce without Luxottica’s
                              Authorization

       Defendant advertised and offered for sale products using the WAYFARER Trademark via

the Defendant Internet Stores. Defendant is not an authorized retailer of genuine Luxottica

Products, and the products offered for sale using the WAYFARER Trademark on the Defendant

Internet Stores are not genuine Luxottica Products. Rule 56.1 Statement at ¶ 5.

                       iii.   Defendant’s Use of the Counterfeit WAYFARER Trademark
                              Causes a Likelihood of Confusion and Infringes as a Matter of Law

       The below screenshots from the Defendant Internet Stores show that Defendant’s

unauthorized marks are spurious marks which are identical with, or substantially indistinguishable

                                                 7
                                                   
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from, the registered WAYFARER Trademark, and thus are counterfeit. 15 U.S.C. § 1127

(definition of “counterfeit”). Defendant used the WAYFARER Trademark in connection with the

sale of goods. 15 U.S.C. 1114(1)(a) (prohibiting the use in advertising of any goods or services

on or in connection with a protected mark). See also Tiffany & Co. v. Costco Wholesale Corp.,

2015 U.S. Dist. LEXIS 119319, at *33 (S.D.N.Y. Sep. 8, 2015) (Confirming that there is no

statutory requirement that the counterfeit mark be placed on the product itself, and finding

defendant liable for counterfeiting for using the word "Tiffany" displayed on signs next to rings

stamped with generic marks); Chloe SAS v. Sawabeh Info. Servs. Co, 2014 U.S. Dist. LEXIS

124433, at *18 (C.D. Cal. Sept. 5, 2014) (finding that using a trademark in the product title

constitutes trademark counterfeiting and confirming that “a protected mark need not appears ‘on’

the good offered for sale; it must only be used ‘in connection with’ the sale”).

                         Genuine Luxottica WAYFARER Sunglasses




                                                 8
                                                   
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                                   Defendant Internet Stores




Stewart Declaration at ¶ 7; Declaration of Allyson Martin (“Martin Declaration”) at ¶¶ 3-5.

       In a trademark infringement case, likelihood of consumer confusion is ordinarily a question

of fact. CAE, Inc. v. Clean Air Eng’g Inc., 267 F.3d 660, 677 (7th Cir. 2001) (citations omitted).
                                                9
                                                 
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However, “if the evidence is so one-sided that there can be no doubt about how the question should

be answered,” the question of whether likelihood of confusion exists may be resolved on summary

judgment. Id. (citing Door Sys. v. Pro-Line Door Sys., 83 F.3d 169, 173 (7th Cir. 1996)).

       The Seventh Circuit has held that where “one produces counterfeit goods in an apparent

attempt to capitalize upon the popularity of, and demand for, another’s product, there is a

presumption of a likelihood of confusion.” Microsoft Corp. v. Rechanik, 249 F. App’x 476, 479

(7th Cir. 2007). Accordingly, the Court can presume a likelihood of confusion from Defendant’s

use of the WAYFARER Trademark.

       The result is the same when considered in light of the Seventh Circuit’s seven enumerated

factors to determine whether there is a likelihood of confusion, which include: (1) the similarity

between the marks in appearance and suggestion; (2) the similarity of the products; (3) the area

and manner of concurrent use; (4) the degree and care likely to be exercised by consumers; (5) the

strength of the plaintiff’s mark; (6) any actual confusion; and, (7) the intent of the defendant to

“palm off” his products as that of another. AutoZone, Inc. v. Strick, 543 F.3d 923, 929 (7th Cir.

2008). No one factor is dispositive, but the similarity of the marks, actual confusion, and the

defendant’s intent are “particularly important.” Id.

       Luxottica has submitted documentation showing that Defendant is using the word

Wayfarer in the product title, where a brand name would normally appear, to sell sunglasses not

manufactured or licensed by Luxottica. Rule 56.1 Statement at ¶¶ 2-5; Martin Declaration at ¶¶

3-5. Both Luxottica and Defendant advertise and sell their products over the Internet, targeting

consumers searching for genuine Luxottica Products. [14] at ¶ 13; Rule 56.1 Statement at ¶¶ 2-4.

Additionally, Luxottica has submitted documentation that Defendant used the word Wayfarer in

the product title in a similar manner to how Luxottica uses the WAYFARER Trademark to sell



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genuine Luxottica products on ray-ban.com. See Stewart Declaration at ¶ 7. Defendant presented

the word Wayfarer on the Defendant Internet Stores in a plain, unadorned, upper-and-lower case

typeface. Martin Declaration at ¶¶ 3-5. Thus, those consumers searching for genuine Luxottica

products (who are diverse with varying degrees of sophistication) are likely to have difficulty

distinguishing genuine Luxottica Products from Defendant’s products not licensed or

manufactured by Luxottica. This is particularly true in this case where the Defendant’s products

are sold on the Internet and consumers cannot inspect the physical product. In that regard,

Defendant advertises and offers to sell products that copy the style of genuine Luxottica Products

and use the WAYFARER Trademark. Rule 56.1 Statement at ¶¶ 2-4.                 Defendant also used

keywords such as “Vintage 1980’s,” “Fashion Sunglasses,” and “Retro” in the product titles,

suggesting similarity of its products to genuine Luxottica eyewear sold under the WAYFARER

Trademark. Id. See Chloe SAS, 2014 U.S. Dist. LEXIS 124433, at *18 (“this conjunction of a

protected name or mark alongside suggestions of superior quality, similarity, or authenticity, is

more than sufficient to support a finding of counterfeiting”).

       Luxottica does not need to prove actual consumer confusion; rather it only needs to show

a likelihood of confusion exists, particularly given the compelling evidence that Defendant is

attempting to “palm off” their goods as genuine Luxottica Products by using the WAYFARER

Trademark. CAE, Inc. v. Clean Air Eng’g, Inc., 267 F.3d 660, 685 (7th Cir. 2001). Thus,

Defendant’s use of the WAYFARER Trademark in connection with the sale of unauthorized goods

created a likelihood of confusion. See Tiffany & Co., 2015 U.S. Dist. LEXIS 119319, at *33

(finding likelihood of confusion where the word “Tiffany” was displayed on signs next to rings

stamped with generic marks); Chloe SAS, 2014 U.S. Dist. LEXIS 124433, at *18-19 (finding

defendant liable for use of a protected word mark in Internet sale listing).



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III.   LUXOTTICA IS ENTITLED TO STATUTORY DAMAGES

       There is no genuine issue of material fact as to whether Defendant has infringed the

WAYFARER Trademark through its willful and international trademark counterfeiting. Further,

there is no genuine issue of material fact as to whether Defendant’s infringement was willful,

because Defendant knew it was infringing the WAYFARER Trademark or, at a minimum, had a

reckless disregard for Luxottica’s rights. As such, Luxottica elects to recover an award of statutory

damages as authorized by 15 U.S.C. § 1117(c) for trademark counterfeiting for Defendant’s sale

of products using counterfeit reproductions of the WAYFARER Trademark.

       The awarding of statutory damages serves dual interests in that it is remedial in nature, but

also intended to protect an important public interest. Sands, Taylor & Wood, 34 F.3d at 1347-48.

Given the broader economic losses and harm to the job market caused by counterfeiting, coupled

with the possible dangers to consumers who are tricked into purchasing low quality, counterfeit

products over the Internet, it is important to both penalize defendants and try to deter future

violations. Lorillard Tobacco Co. v. S&M Cent. Serv. Corp., No. 03-cv-4986, 2004 U.S. Dist.

LEXIS 22563, *18 (N.D. Ill. Nov. 5, 2004). Accordingly, Luxottica respectfully requests the

Court’s entry of an award in the amount of at least ninety thousand dollars ($90,000) against the

Defendant for willful counterfeiting of the WAYFARER Trademark.

       A.      Statutory Damages Are Appropriate in this Case

       Pursuant to the statutory damages provision of the Lanham Act, 15 U.S.C. § 1117(c), a

plaintiff in a case involving the use of a counterfeit mark may elect to receive “not less than $1,000

or more than $200,000 per counterfeit mark per type of goods or services sold, offered for sale, or

distributed, as the court considers just.” 15 U.S.C. § 1117(c)(1). When the counterfeiting is found

to be willful, 15 U.S.C. § 1117(c)(2) provides for statutory damages of up to “$2,000,000 per

counterfeit mark per type of goods or services sold, offered for sale, or distributed, as the court

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considers just.”   15 U.S.C. § 1117(c)(2).     “Willful infringement may be attributed to the

defendant’s actions where he had knowledge that his conduct constituted infringement or where

he showed a reckless disregard for the owner’s rights.” Lorillard Tobacco Co., 2004 U.S. Dist.

LEXIS 22563 at *19-20; Monster Energy Company v. Meng Chun Jing, et al., 2015 U.S. Dist.

LEXIS 86956, at *10 (N.D. Ill. July 6, 2015). As such, knowledge need not be proven directly,

but can be inferred from a defendant’s conduct. Id. at 20.

       Luxottica has expended substantial time, money, and other resources in advertising and

promoting its trademarks, including the WAYFARER Trademark. [14] at ¶ 11. In fact, Luxottica

has expended millions of dollars annually in advertising, promoting and marketing featuring its

trademarks. Id. Eyewear sold under the WAYFARER Trademark has been the subject of

extensive unsolicited publicity and has been recognized by CNN, The Globe and Mail,

Fashionista, and Wired Magazine as “a classic of modern design,” a “hipster staple,” “eternal,”

and “iconic,” having “ridden the waves of fashion in timeless style.” Stewart Declaration at ¶ 4.

Furthermore, eyewear sold under the WAYFARER Trademark is ubiquitous in pop culture, with

countless celebrity and movie appearances. Id. at ¶¶ 5-6. As a result, products sold under the

WAYFARER Trademark are widely recognized and exclusively associated by consumers, the

public, and the trade as being high-quality products sourced from Luxottica. Thus, Defendant’s

use of the WAYFARER Trademark had to be willful, because products sold under the

WAYFARER Trademark are widely recognized and associated exclusively with Luxottica. See

Monster Energy Company v. Meng Chun Jing, et al., 2015 U.S. Dist. LEXIS 86956, at *10 (N.D.

Ill. July 6, 2015); Bulgari, S.p.A. v. Zou Xiaohong, et al., 2015 U.S. Dist. LEXIS 140606, at *6.

Further, a search by Defendant of “WAYFARER” on Google or the United States Patent and




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Trademark Office website would have quickly revealed Luxottica’s rights in the WAYFARER

Trademark.

       In addition, Defendant copied the style of genuine sunglasses sold by Luxottica under the

WAYFARER Trademark, and offered its products at prices well below the market prices for

genuine Luxottica sunglasses sold under the WAYFARER Trademark, which also indicates willful

counterfeiting. Rule 56.1 Statement at ¶¶ 2-4; Stewart Declaration at ¶ 7. See Louis Vuitton S.A.

v. Pun Yang Lee, 875 F.2d 584, 589 (7th Cir. 1989) (“manufacturers of high-fashion leather goods

do not distribute them to retail outlets through itinerant peddlers, do not line the goods with purple

vinyl, and do not sell them at prices which permit the retailer to make money reselling them for $

37.80.”). Defendant purposefully identified the products using the WAYFARER Trademark

where the brand manufacturer’s name would commonly be located. Also, Defendant strategically

described the products using keywords such as “Vintage 1980’s,” “Fashion Sunglasses,” and

“Retro,” further indicating Defendant’s awareness of the WAYFARER brand and that it was

attempting to pass off its products as genuine eyewear sold under the WAYFARER Trademark.

Rule 56.1 Statement at ¶¶ 2-4.

       Although 15 U.S.C. § 1117(c) contains the dollar range for possible statutory damage

awards, the only guidance provided by the statute for how to determine a damage award within

the statutory dollar range is “as the court considers just.” 15 U.S.C. § 1117(c). Courts interpreting

15 U.S.C. § 1117(c) have analogized case law applying the statutory damage provision of the

Copyright Act contained in 17 U.S.C. § 504(c). See Lorillard Tobacco Co., 2004 U.S. Dist. LEXIS

22563, *10; Sara Lee v. Bags of New York, Inc., 36 F. Supp. 2d 161, 166 (S.D.N.Y. 1999).

       The Seventh Circuit's standard for awarding statutory damages for copyright infringement

under 17 U.S.C § 504(c) is articulated in Chi-Boy Music v. Charlie Club, 930 F.2d 1224, 1229 (7th



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Cir. 1991). Under the Chi-Boy standard, a court awarding statutory damages is “not required to

follow any rigid formula,” but instead “enjoys wide discretion.” Id. In computing the award

amount, a court may consider factors such as “the difficulty or impossibility of proving actual

damages, the circumstances of the infringement, and the efficacy of the damages as a deterrent.”

Id. Courts in this district have also considered the significant value of a plaintiff’s brand and the

efforts taken to protect, promote and enhance that brand in determining the appropriate dollar

figure for the award. Lorillard Tobacco Co., 2004 U.S. Dist. LEXIS 22563 at *16.

       Further, because damages inquiries under Section 1117(c) consider both punitive and

compensatory considerations, “there is no necessary mathematical relationship between the size

of such an award and the extent or profitability of the defendant’s wrongful activities.” Sara Lee,

36 F. Supp. 2d at 165. Thus, courts have looked beyond restitution of profit and restoration of

injury to award damages, holding that deterrence of future infringement by the defendant and

others situated like him is an important factor. Lorillard Tobacco Co. v. J.J. Shell Food Mart, Inc.,

No. 03-cv-5506, 2005 U.S. Dist. LEXIS 26626, *16 (N.D. Ill. Oct. 27, 2005). Courts have also

held that damages awards limited to lost profits would have little to no deterrent effect on future

violations – “a counterfeiter must fear more than just having to turn over his ill-gotten gains to the

rightful owners.” See Lorillard Tobacco Co., 2004 U.S. Dist. LEXIS 22563 at *17.

       B.      Defendant’s Wide Exposure over the Internet Merits a Substantial Statutory
               Damages Award

       Defendant’s ability to reach a vast customer base by willfully advertising and offering for

sale products using the WAYFARER Trademark over the Internet on the eBay marketplace

platform merits a substantial statutory damages award. Defendant has the ability to “reach a

virtually limitless number of potential customers worldwide.” Tiffany (NJ) LLC v. Dong, No. 11-

cv-2183, 2013 U.S. Dist. LEXIS 114986, *17 (S.D.N.Y. Aug. 9, 2013) (awarding a total of $9


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million in statutory damages, noting defendant’s vast customer base). Defendant is able to reach

a large base of active buyers with the eBay platform. As of December 31, 2015, the eBay

marketplace had more than 162 million active buyers. Martin Declaration at ¶ 2. Courts in this

District have also recognized the ability for online marketplace sellers to reach a vast customer

base and this effect on statutory damages. See Monster Energy Company v. Meng Chun Jing, et

al., 2015 U.S. Dist. LEXIS 86956, at *11 (holding that AliExpress “is a busy website that provides

the potential to reach a vast customer base.”); Bulgari, S.p.A. v. Zou Xiaohong, et al., 2015 U.S.

Dist. LEXIS 140606, at *7 (“[i]t is difficult for Bulgari to prove actual damages because the

internet platform Li used, AliExpress.com, is a popular website reaching a vast customer base.”).

As such, a substantial statutory damages award is justified, and in similar cases involving willful

Internet-based counterfeiting, courts often award high damages awards due to wide market

exposure. See Luxottica USA LLC v. The Partnerships, et al., 2015 U.S. Dist. LEXIS 78961, at

*7-10 (N.D. Ill. June 18, 2015) ($150,000 awarded for three infringed marks based on defendant’s

online sale of counterfeit goods); Monster Energy Company v. Meng Chun Jing, et al., 2015 U.S.

Dist. LEXIS 86956, at *13 (awarding statutory damages of $1 million); Rolex Watch U.S.A., Inc.

v. Jones, No. 99-cv-2359, 2002 U.S. Dist. LEXIS 6657, at *16 (S.D.N.Y. Apr. 17, 2002) (holding

that an award of $25,000 for each category of trademarked goods would be inadequate in view of

the virtually limitless number of available customers on the Internet, distinguishing cases where

defendants had “storefront operations,” and noting that one of defendant’s websites had more than

90,000 visitors); Louis Vuitton Malletier, S.A. v. Mosseri, No. 07-cv-2620, 2009 U.S. Dist. LEXIS

100851, *9 (D.N.J. Oct. 28, 2009) (awarding over $4 million in total statutory damages, finding

that defendant’s operation of its counterfeit goods enterprise on the Internet exponentially

increased the damages); Louis Vuitton Malletier, et al. v. Veit, 211 F. Supp. 2d 567, 584-85 (E.D.



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Pa. 2002) (awarding $1,500,000 total and stating "the point of sale is very relevant to the statutory

damages discussion" because “143 million Americans use the internet and represent the

counterfeiter’s potential customer base”); Burberry Ltd. v. Designers Imps., Inc., No. 07-cv-3997,

2010 U.S. Dist. LEXIS 3605, *28 (S.D.N.Y. Jan. 19, 2010) (Court awarded $1,500,000 in statutory

damages representing $100,000 per mark per type of goods, finding that a large award was

necessary because of “defendant’s ability to reach a vast customer base through internet

advertising”).

       Thus, Luxottica’s request for a high statutory damages award should be given favorable

consideration in view of the Defendant’s wide market exposure and ability to reach a vast customer

base over the Internet.

       C.        The Value of the WAYFARER Trademark Justifies a High Statutory
                 Damages Award

       In determining an appropriate damage award, this Court should be guided by the Lorillard

case and consider the “significant value of [Luxottica’s Ray-Ban WAYFARER] brand and the

efforts taken to protect, promote and enhance that brand.” Lorillard Tobacco Co., 2004 U.S. Dist.

LEXIS 22563 at *16. For generations, Luxottica’s Ray-Ban brand has been the undisputed world

leader in the field of sun and prescription eyewear. [14] at ¶ 4. Luxottica has expended substantial

time, money, and other resources in advertising and promoting its trademarks, including the

WAYFARER Trademark. [14] at ¶ 11. As thoroughly detailed throughout this Memorandum,

eyewear sold under the WAYFARER Trademark has been the subject of extensive unsolicited

publicity, noting that the eyewear is “a classic of modern design,” a “hipster staple,” “eternal,”

“iconic,” and “timeless.” Stewart Declaration at ¶¶ 4. As such, the WAYFARER Trademark is a

famous and valuable asset of Luxottica.




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       As part of its worldwide anti-counterfeiting program, Luxottica investigates Internet-based

infringement of the WAYFARER Trademark. [14] at ¶ 26. Luxottica also has taken action against

the owners/operators of thousands of websites and online marketplace listings identified in

proactive Internet sweeps and reported by consumers. Thus, Luxottica’s request for a high

statutory damages award should be given favorable consideration in view of the value of the

WAYFARER Trademark and the extensive steps being taken to protect, promote and enhance it.

See Monster Energy Company v. Meng Chun Jing, et al., 2015 U.S. Dist. LEXIS 86956, at *11;

Luxottica USA LLC v. The Partnerships, et al., 2015 U.S. Dist. LEXIS 78961, at *7-8 (N.D. Ill.

June 18, 2015) (N.D. Ill. June 18, 2015); Bulgari, S.P.A. v. Zou Xiaohong, et al., 2015 U.S. Dist.

LEXIS 140606, at *7.

       D.      The Requested Statutory Damages Award Must Sufficiently Deter Defendant
               and Similar Online Counterfeit Sellers

       Additionally, the remedy imposed under the statute must provide a sufficient deterrent

effect to ensure that the guilty party will not engage in further infringing conduct. Sands, Taylor

& Wood, 34 F.3d at 1348. For example, in Phillip Morris USA Inc. v. Marlboro Express, the Court

stated that due to, “the size of the potential profit given the quantities of [counterfeit goods]

involved, and the need for a substantial deterrent to future misconduct by defendants and other

counterfeit traffickers ... plaintiff is entitled to the maximum statutory award under 15 U.S.C. §

1117(c)(2).” No. 03-cv-1161, 2005 U.S. Dist. LEXIS 40359, *28 (E.D.N.Y. Aug. 26, 2005). See

also Luxottica USA LLC v. The Partnerships, et al., 2015 U.S. Dist. LEXIS 78961, at *8; Bulgari,

S.P.A. v. Zou Xiaohong, et al., 2015 U.S. Dist. LEXIS 140606, at *7.

       Given the Court’s clear discretion in determining the appropriate amount of the statutory

damages award within the statutory limits of 15 U.S.C. § 1117(c), Luxottica respectfully requests

the Court’s entry of an award in the amount of at least ninety thousand dollars ($90,000) against


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Defendant. Luxottica’s request for damages is reasonable in light of prior awards against Internet-

based counterfeiters. Bulgari, S.p.A. v. Zou Xiaohong, et al., 2015 U.S. Dist. LEXIS 140606, at

*7 (N.D. Ill. Oct. 15, 2015) ($100,000 awarded for three represented sales); Luxottica USA LLC v.

The Partnerships, et al., 2015 U.S. Dist. LEXIS 78961, at *7-10 (N.D. Ill. June 18, 2015)

($150,000 awarded for three infringed marks).

IV.    LUXOTTICA IS ENTITLED TO PERMANENT INJUNCTIVE RELIEF

       In addition to the foregoing relief, Luxottica respectfully requests entry of a permanent

injunction enjoining Defendant from advertising, offering for sale, and selling products using the

WAYFARER Trademark or otherwise violating its rights in the WAYFARER Trademark. 15

U.S.C. § 1116(a); See also Luxottica Group S.p.A. v. Li Hui, et al., No. 1:15-cv-06977 (N.D. Ill.

Sept. 29, 2015) (permanently enjoining and restraining defendants from selling counterfeit

products).

V.     LUXOTTICA IS ENTITLED TO ATTORNEY’S FEES AND COSTS

       Pursuant to 15 U.S.C. § 1117(b), in a case involving use of a counterfeit mark, the court

shall, unless it finds extenuating circumstances, award a reasonable attorney’s fee if the violation

consists of intentionally using a mark, knowing such mark is a counterfeit mark, in connection

with the sale, offering for sale, or distribution of goods. 15 U.S.C. § 1117(b). Luxottica USA LLC

v. The Partnerships, et al., 2015 U.S. Dist. LEXIS 78961, at *14; Monster Energy Company v.

Meng Chun Jing, et al., 2015 U.S. Dist. LEXIS 86956, at *13; Bulgari, S.P.A. v. Zou Xiaohong, et

al., 2015 U.S. Dist. LEXIS 140606, at *9-10. Thus, if a defendant is liable because it was willfully

blind, or because it knew the products it was selling were counterfeit, an award of attorney's fees

is mandatory under § 1117(b), absent extenuating circumstances. Tony Jones Apparel, Inc. v.

Indigo USA, LLC, 2005 U.S. Dist. LEXIS 14649, *31-33 (N.D. Ill. July 11, 2005). Luxottica

respectfully requests entry of an award of its reasonable attorney’s fees and costs pursuant to 15

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U.S.C. § 1117(a) and (b) because Defendant knowingly and willfully advertised and offered for

sale products using the WAYFARER Trademark.

VI.    CONCLUSION

       Based on the above, Luxottica respectfully requests that this Court enter an order granting

summary judgment in favor of Luxottica and against Defendant for willful federal trademark

infringement and counterfeiting (Count I), false designation of origin (Count II), and violation of

the Illinois Uniform Deceptive Trade Practices Act (Count IV). Finally, Luxottica requests that

this Court award Luxottica statutory damages against Defendant of at least ninety thousand dollars

($90,000), enter a permanent injunction prohibiting Defendant from advertising, offering for sale,

and selling products using the WAYFARER Trademark and awarding Luxottica its reasonable

attorney’s fees and costs pursuant to 15 U.S.C. § 1117(a) and (b).




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Dated this 24th day of March 2016.   Respectfully submitted,


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                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 24th day of March 2016, I will electronically file the foregoing

with the Clerk of the Court using the CM/ECF system. The CM/ECF system will send a “Notice

of E-Filing” to the attorneys of record in this case.


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